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                                                         Accused garment
NB161106
   Case 2:20-cv-11181-CAS-JPR Document 75-5 Filed 11/23/21 Page 3 of 5 Page ID #:1504




NB161106                                                 Accused garment
    Case 2:20-cv-11181-CAS-JPR Document 75-5 Filed 11/23/21 Page 4 of 5 Page ID #:1505




                                                         Accused garment
NB161106              Flipped to down and left                   Top right




                                Flipped to down                   Bottom right
           Case 2:20-cv-11181-CAS-JPR Document 75-5 Filed 11/23/21 Page 5 of 5 Page ID #:1506




                      Accused garment                                          NB161106
NB161106                                Top left




                             Bottom left
